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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MASSASCHUSETTS


                                                     )
CHESTNUT DENTAL ASSOCIATES, P.C.                     )
                                                     )
                         Plaintiff,                  )
                                                     )
                                                     )
v.                                                   )
                                                     ) CIVIL ACTION NO. 1:12-___________
                                                     )
                                                     )
SOVEREIGN BANK, N.A.                                 )
                                                     )
                                                     )
                        Defendant.
                                                     )
                                                     )


                         COMPLAINT AND JURY DEMAND

       Plaintiff, Chestnut Dental Associates, P.C., by its undersigned counsel, states the
following as its Complaint against Defendant Sovereign Bank, N.A.


                            PRELIMINARY STATEMENT

        This action arises out of Sovereign Bank’s failure to fulfill one of its most basic
obligations, namely, to protect its customers’ funds against theft. From June 25, 2012
through approximately July 10, 2012, cybercriminals accessed Chestnut Dental
Associates’ accounts at Sovereign Bank and wire transferred over two hundred twenty-
two thousand dollars to accounts at several banks, including accounts in Hong Kong and
Malaysia. After Sovereign Bank provided the cybercriminals with its customers
complete account numbers and balances, the Bank failed to follow its own security
procedures for wire transfers, failed to follow reasonable security procedures whatsoever,
and failed to identify out of the ordinary transfers despite a banking relationship of over
forty years without any international wires. Further, the Bank failed to identify obvious
fraud in the completion of wire transfer requests and even assisted the cybercriminals in
correcting the deficiencies. Sovereign Bank allowed the cybercriminals to wire the
customer’s funds from the customer’s operating account, which had only been used for a
single annual December wire funds from its operating account to its payroll company’s



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(ADP) account. Despite the Bank’s dramatic failure to protect its customer’s money, the
Bank, adding insult to injury has unfairly demanded that the customer be responsible for
the loss. Chestnut Dental Associates has requested that the Bank restore its account
balance, based upon the Bank’s failures recited herein and the recent First Circuit of the
United States Court of Appeals decision in Patco Construction Company, Inc. v. People’s
United Bank, d/b/a Ocean Bank, 684 F.3d 197, United States Court of Appeals, First
Circuit (July 3, 2012).


                                     THE PARTIES

   1. Plaintiff, Chestnut Dental Associates, P.C. (“CDA”) is a Massachusetts

       Corporation with a principal place of business in Needham, Massachusetts.

   2. Sovereign Bank, N.A. (“Sovereign” or the “Bank”) is a wholly owned subsidiary

       of Banco Santander, S.A., a Virginia Corporation and with a business location at

       75 State Street, Boston, Massachusetts.



                            JURISDICTION AND VENUE

   3. This action is of a civil nature involving, exclusive of interest and costs, a sum in

       excess of $75,000. Every issue of law and fact is wholly between citizens of

       different states.

   4. This Court has subject matter jurisdiction pursuant to 28 U.S.C.A. § 1332.

   5. This Court has personal jurisdiction over Defendant pursuant to Massachusetts

       G.L. c. 223A, Section 3(a) (the “Massachusetts Long-Arm Statute”).

   6. Venue is proper in this Court pursuant to 28 U.S.C.A. § 1391(2) as the tortious act

       complained of was committed in Massachusetts.




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                                    THE FACTS

7. CDA has been in business since 1970, and incorporated as a Professional

   Corporation pursuant to Massachusetts law in 1980. CDA is a regional dental

   practice, providing pediatric, orthodontic and general dentistry to the communities

   surrounding Needham and Franklin, Massachusetts.

8. CDA has banked with Sovereign, or its predecessors, since its formation.

9. CDA maintains an operating account (hereinafter, the “account” or “CDA

   account”) and other deposit, payroll and loan accounts as a business banking

   customer of Sovereign.

10. CDA uses ADP as its payroll service provider to pay its partners and employees.

11. For at least the last fifteen years, CDA would include an additional December

   payroll to pay partner and/or employee bonuses (the “December Bonus Payroll”).

12. CDA’s payroll company required CDA to wire transfer funds to the payroll

   company’s account for this December Bonus Payroll, if the amount of the payroll

   exceeded a pre-determined amount, which had in fact occurred over the past

   several years, except in 2011.

13. Specifically to accommodate the payroll company’s wire transfer requirements

   for the December Bonus Payroll, CDA requested that Sovereign permit CDA the

   ability to wire transfer funds from its operating account.

14. In its past 40 years as a customer of Sovereign, CDA’s only wire transfers were

   for the December Bonus Payroll.




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15. To complete the December Bonus Payroll, CDA would meet with its accountant

   at CDA’s offices to complete the wire transfer request form and fax the form to

   the Bank.

16. For example, in 2010, the December Bonus Payroll was completed by CDA by

   sending a completed form (the “2010 Wire Transfer Agreement”) by fax from

   CDA to Sovereign.

17. The 2010 Wire Transfer Agreement was completed and then signed by Jonathan

   Chason.

18. The 2010 Wire Transfer Agreement provided the correct name and address of the

   customer.

19. The 2010 Wire Transfer Agreement provided the correct account number.

20. The 2010 Wire Transfer Agreement required a phone call from Sovereign to

   Jonathan Chason, D.M.D. at the CDA office to verify the identity of the transferor

   and confirm that the account holder had requested the transfer

21. On information and belief, Sovereign required telephone verification by Jonathan

   Chason, D.M.D. a shareholder in CDA or, more recently, Jack Hertzberg, D.M.D,

   a shareholder in CDA.

22. In its 40 year banking relationship with Sovereign, CDA never wire transferred

   funds to vendors, suppliers or any party, other than its payroll company for the

   December Bonus Payroll.

23. During its 40 year existence and banking relationship with Sovereign, CDA

   would be serviced by a Sovereign employee for loans and account questions.




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24. For the past several years, Scott Vickery, Vice President, Business Banking

   Relationship Manager was the Sovereign employee assigned to the CDA account.

25. Historically, CDA would borrow money from Sovereign for major equipment

   purchases, such as evidenced by its UCC filing of August 8, 2003 with the

   Massachusetts Secretary of State, Corporations Division.

26. CDA had previously worked with Scott Vickery on its active equipment loans

   with Sovereign.

27. For its existing equipment loans, CDA did not purchase the collateralized

   equipment from manufacturers, but rather, from major United States based dental

   distributors, who could deliver, install, service, maintain and provide disposables

   for the equipment.

28. When CDA applied for collateralized equipment loans, CDA ultimately submitted

   invoices for its proposed equipment purchases to Sovereign.

29. In connection with its collateralized equipment loans, CDA did not provide the

   Bank with evidence of any international equipment purchases, but rather,

   equipment provided by regional dental equipment distributors.

30. CDA understood the wire transfer process to require Jonathan Chason, D.M.D.’s

   or Jack Hetzberg, D.M.D.’s verbal approval by confirmatory telephone call from

   the bank to CDA’s office.

31. Sovereign did not offer CDA any fax wire transfer authentication that would

   provide multi-layered authentication.




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32. Sovereign did not offer to CDA, both the ability to block transfer requests from

   emails or during times other than its customary late December Bonus Payroll wire

   transfer.

                      The 2012 equipment and buildout loan

33. On or about May 2012, CDA applied for an equipment and buildout loan from

   Sovereign (the “2012 equipment and buildout loan”).

34. Dr. Jack Hertzberg (“Dr. Hertzberg”) is a partner of CDA.

35. On or about May 17, 2012, in contemplation of a potential new equipment loan

   between CDA and the Bank, Dr. Hertzberg corresponded with Scott about

   unfreezing Dr. Hertzberg’s credit report, so that the Bank could obtain a copy for

   the loan application process.

36. In accordance with its prior practices in applying for equipment and buildout

   loans, Sovereign required a proposed budget and equipment expense detail for the

   loan application for the 2012 equipment and buildout loan.

37. On June 4, 2012, at 9:21 a.m., Jonathan Chason, D.M.D. (“Dr. Chason”), a

   shareholder of CDA, who was coordinating renovations to CDA’s Franklin,

   Massachusetts office, sent a cost breakdown to Scott (the “June 4, 2012 budget”).

38. The June 4, 2012 budget provided for a total expense of $70,825.

39. The June 4, 2012 budget provided for an estimated $33,825 in total “Operatory

   and related mechanical room” expense.

40. On June 5, 2012 at 5:24 p.m., Peter McNicholas, Administrator for CDA, sent

   Scott Vickery, Vice President, Business Banking Relationship Manager at




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   Sovereign Bank (“Scott”) an email containing the proposed budget for the 2012

   equipment and buildout loan also in the amount of $70,825.

41. In his June 5, 2012 5:24 p.m., email to Scott, Peter McNicholas included a “quote

   from our equipment vendor relative to the Franklin Office renovation we plan on

   starting in August, 2012.”

42. The equipment quote sent to Scott in the June 5, 2012 email was dated April 2,

   2012 and was prepared by Henry Schein Dental, of Needham, Massachusetts (the

   “Equipment Quote”).

43. The Equipment Quote totaled $36,946.10 and was addressed to the attention of

   Dr. Debra Blattman of CDA.



                   The infiltration of CDA’s Account at Sovereign



44. Based upon information and belief, at some point on or before June 5, 2012, Dr.

   Hertzberg’s gmail account was hacked into by a perpetrator (“Fake Jack” or the

   “cybercriminal(s)”).

45. Apparently, Fake Jack was able to monitor Dr. Hertzberg’s email correspondence

   and picked up on some correspondence between Dr. Hertzberg and Scott.

46. On Tuesday, June 5, 2012 at 8:47 a.m., Fake Jack emailed Scott, stating the

   following:

           “Hi,
           Could you please provide me all my account balances?”

47. On Tuesday, June 5, 2012 at 8:48 p.m., Scott replied to the e-mail requesting

   account balances by stating the following:


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           “Are you looking for Sovereign Bank account balances for Chestnut
           Dental? For you personally?

           Is everything ok?

           Thanks”

48. Dr. Hertzberg had never requested account balances for CDA from Scott or

   anyone else at Sovereign for CDA accounts prior to June 5, 2012.

49. Dr. Hertzberg had never requested that Scott help him in accomplishing a wire

   transfer of funds.

50. On June 5, 2012 at 8:54 a.m., Fake Jack emailed Scott, stating the following:

           “Provide me all, Everything is fine.

           Thanks”

51. On June 5, 2012 at 9:23 a.m., without first attempting to telephone Dr. Hertzberg

   to verify his identity and request, Scott emailed Fake Jack all of CDA’s

   COMPLETE account numbers and balances for deposit and loan accounts.

52. On information and belief, sending a customer’s account numbers and balances

   by unsecured email violated Sovereign’s policies and procedures.

53. Dr. Hertzberg was unaware that his account was hacked or that communication

   between the Bank and Fake Jack had occurred.

54. On Tuesday, June 5, 2012 at 9:27 AM, Fake Jack emailed Scott stating:

           “Thanks for your prompt response,

           Actually, I’m buying some Xray machines and Orthodontic equipments
           from a company in Malaysia and would probably need you make a wire
           transfer to them. What recipient details is required?

           Thanks”




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55. Despite the grammatical errors in the June 5th 9:27 a.m. email purported to be

   from Dr. Hertzberg, Scott did not attempt to verify the identity of the sender.

56. Instead, shortly thereafter on June 5, 2012, at 11:14 a.m., Scott emailed Fake Jack

   the information required to complete a wire transfer from the Bank, including the

   recipient details the Bank would need to process the wire.

57. In the June 5, 2012 11:14 a.m. email, Scott also stated:

           “…Any concern with the seller? Do you want to speak with someone
           from our international trade group to discuss potential ways to protect
           yourself?”

58. Seven minutes later, on June 5, 2012 at 11:21 a.m., Fake Jack replied to Scott, as

   follows:

           “No concern with the seller as I have tested and verified them earlier
           before now. I just concluded with them and the total cost of the
           equipments is of 31,360usd. Below is the recipient details provided.

           Beneficiary Name: LShadow Inc Ent
           Beneficiary Account No:--------
           Bank Name: Public Bank
           Bank Address:…Malaysia
           Swift Code:----

           Will this do?

           Send me the reference slip once done.

           Thank you.”

59. Despite the grammatical errors in yet another email purported to be from Dr.

   Hertzberg, and the unusual reference to “usd” and declination of opportunity to

   “protect” himself in the international transaction, from an individual who

   maintained a “freeze” on his personal credit account, Scott again did not attempt

   to verify the identity of the sender.




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60. On Tuesday, June 5, 2012 at 11:26 AM, Scott emailed Valerie Tipton of

   Sovereign (“Valerie”) requesting,

             “Can you initiate a one time wire? Or do I need to send him to the
             branch.”{emphasis supplied}.

61. On information and belief, Sovereign Bank’s policies and procedures for this

   international wire transfer required the customer to be identified at the Bank

   branch.

62. On information and belief, Sovereign Bank’s policies and procedures for this

   international wire transfer required a call back to the registered phone number of

   the customer maintained by the Bank.

63. On Tuesday, June 5, 2012 at 11:30 AM, Valerie emailed Scott stating,

             “Hi Scott: I can do this wire, but the customer needs to put all info on the
             official form. The wire is over $10M, so we will need to do a callback to
             the signer to go over all information the form.
             Need beneficiary address…no PO Boxes.

             It is attached.

             Thanks, Val.”

64. On Tuesday, June 5, 2012 at 11:34 AM, Scott emailed Fake Jack and wrote:

             “Hi Jack

             Val needs the attached form completed, signed and faxed back. See her
             email and fax number below.

             Thanks”

65. On June 5, 2012 5:24 p.m., Scott received Peter McNicholas’ email which

   included the Equipment Quote, relative to the Franklin Office renovation,

   prepared by Henry Schein Dental, of Needham, Massachusetts.

66. Scott did not attempt to address the inconsistency in the purported vendors.


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67. Scott did not attempt to address the inconsistency in the budgeted amounts.

68. Scott did not attempt to contact Dr. Chason about the changes.

69. On Monday, June 25, 2012 at 8:26 AM, Fake Jack emailed Scott, stating:

           “OK, I asked you to help me make a transfer for some equipments earlier.
           I attached the completed wire transfer form below. Can you process it
           today and send me the reference slip. Thanks Jack”

70. Scott did not question the grammatical, punctuation or other signs of the

   cybercriminal in the June 25, 2012, 8:26 a.m. email from Fake Jack.

71. On June 25, 2012, at 8:29 a.m., Scott sent the fraudulently completed wire

   transfer form to Valerie, which was inconsistent with the “fax” delivery method

   previously required by the Bank.

72. On Monday, June 25, 2012 at 8:57 a.m., Scott emailed Fake Jack, stating,

           “Thanks Jack
           I will ask Val and Helen to process. They will need to contact you to
           verify the info by phone as the amount is over $10K. What’s the best
           number to reach you?

           Also, the account number on the form is one of your loan #s. Can you
           either correct the form or verify the checking account number in an email?
           I cc’d Peter in case you don’t have the number handy.

           Sorry for the inconvenience
           Thanks”


73. The fraudulent June 25, 2012 wire transfer agreement was not in the name of the

   account holder.

74. The fraudulent June 25, 2012 wire transfer agreement contained an incorrect

   account holder address.




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75. The fraudulent June 25, 2012 wire transfer agreement listed the prior residential

   address of Dr. Hertzberg, although he had not resided at the address for over

   twelve years.

76. The fraudulent June 25, 2012 wire transfer agreement did not contain the

   operating account number, but rather the account holder’s loan account number.

77. The fraudulent June 25, 2012 wire transfer agreement was not signed by anyone.

78. The fraudulent June 25, 2012 wire transfer agreement did not contain the tax

   identification number of the account holder.

79. Upon learning of the incorrect “loan” account number and discrepancies on the

   transfer request form, Scott did not call Dr. Hertzberg on his cell phone, which

   number was readily available in the email chain, to verify that Dr. Hertzberg

   initiated the request.

80. Upon learning of the incorrect “loan” account number and discrepancies on the

   transfer request form, Scott did not call Dr. Chason, Peter McNicholas or CDA’s

   office phone, which numbers were readily available, to verify that Dr. Hertzberg

   initiated the request.

81. Instead, Scott requested that the cybercriminal provide a phone number for

   verification.

82. The cybercriminal provided Scott with a phone number which was not associated

   with anyone at CDA or Dr. Hertzberg.

83. On information and belief, on Monday, June 25, 2012, Scott emailed Fake Jack

   informing him that the account number in the Wire Transfer Agreement was a

   loan number and Scott asked the Fake Jack to resubmit a correct form or verify,




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   via email, the checking number, and stated that he copied Peter McNicholas,

   Administrator of CDA, in case Fake Jack did not have the number handy.

84. On Monday, June 25, 2012 at 9:04 a.m., Fake Jack responded to Scott that:

           “I’m quite busy now and won’t be able to pick calls now until I’m done.
           The Checking Account # is 8XXXXXXXX. Please process it and send
           me the reference number. I’ll give you a call when im done
           Thanks Jack”

85. On Monday, June 25, 2012 at 9:09 a.m., Scott responded to Fake Jack:

           “Jack
           Someone on the account needs to verify the wire info with the relationship
           assistant before they can process the wire as this in not being processed in
           person at a branch. This is a required step that they cannot avoid.
           I’m sorry for the inconvenience.
           Thanks”

86. On Monday, June 25, 2012 at 9:17 a.m., Fake Jack provided a phone number to

   Scott which was 817-381-5710 (the “cybercriminal’s phone number”), which was

   not a phone number listed on CDA’s account, associated with Dr. Hertzberg, and,

   on information and belief, the “817” area code is a Texas area code.

87. Scott had personally spoken with Dr. Hertzberg on many occasions on Dr.

   Hertzberg’s cell phone, home phone or office numbers only and they were

   familiar with each other’s voice and some personal history.

88. On information and belief, Scott did not call the cybercriminal’s phone number to

   confirm identity, but rather, provided “Helen Chang” of Sovereign, who had

   never spoken with Dr. Hertzberg, with the cybercriminal’s phone number.

89. On Monday, June 25, 2012 at 9:18 a.m., Scott emailed Fake Jack stating that

   Helen would call him shortly.




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90. On information and belief, at some time after 9:18 a.m., Helen dialed the phone

   number provided by Fake Jack and spoke with someone.

91. On information and belief, at some time after 9:18 a.m., after speaking with

   someone answering the perpetrator’s phone, Helen requested further identification

   from Fake Jack.

92. On Monday, June 25, 2012 at 10:29 a.m., Fake Jack provided, in an unsecure

   email to Scott and Helen, a pilfered copy of Dr. Hertzberg’s passport as

   identification, and stated:

             “Attached is the form and a copy of my ID(Passport) requested. I hope
             you can process today. Send me the reference details. Thanks Jack”

93. Dr. Hertzberg, upon advice obtained from a travel related source, had stored a

   copy of his passport in an email folder, which the cybercriminals were able to

   obtain.

94. On Monday, June 25 at 10:31 a.m., Scott emailed Fake Jack to confirm the wire

   was transferred and provided him with the federal identification confirmation

   number.

95. On June 25, 2012, Sovereign sent an international wire transfer from CDA’s

   account to Malaysia in the amount of $31,360.

96. On June 26, 2012, at 8:03 a.m., Fake Jack emailed Scott, stating:

             “When’ll the recipient receive the payment? Could you possible send mea
             soft copy of the confirmation slip as the recipient requested for it. Thanks
             Jack”

97. On June 26, 2012 at 8:17 a.m., Scott emailed Fake Jack and Valerie, stating in

   part, that, “…I suspect they could have funds today…”




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98. On information and belief, on Tuesday, June 26, 2012 at 8:27 a.m., after

   intercepting and reading an email to Fake Jack concerning a wire transfer, prior to

   Fake Jack deleting the email, Dr. Hertzberg emailed Peter McNicholas asking if

   Peter McNicholas asked for a wire transfer as Dr. Hertzberg had not done so.

99. On Tuesday, June 26, 2012 at 8:30 a.m., Valerie emailed Scott informing him that

   “[i]nternational wires can take up to a week to arrive at their destination….”

100.          On Tuesday, June 26, 2012 at 8:35 a.m., Peter McNicholas emailed Dr.

   Hertzberg asking for Dr. Hertzberg to call him and stating that he did not request

   a wire transfer.

101.          On Tuesday, June 26, 2012 at 8:44 a.m., Fake Jack emailed Scott

   requesting a second wire, stating:

              “OK, I actually will still need you to help me send another wire transfer of
              8K euros to Germany. I’ll fill the form and let you know before the end of
              the day. Thanks Jack.”

102.          On Tuesday, June 26, 2012 at 8:48 a.m., Fake Jack emailed Peter stating

   that “I mean, I already corrected it. Thanks”

103.          On Tuesday, June 26, 2012 at 8:52 a.m., Peter McNicholas emailed Scott

   stating:

              “Scott, Good morning. I just spoke with Dr. Hertzberg, as I was confused
              about the request for a wire transfer I saw in an email. Call my cell if you
              can to review. My cell is 878-201-1086, Thanks, Peter.”

104.          On Tuesday, June 26, 2012 at 9:07 a.m., Scott emailed Fake Jack and

   Peter and stated:

              “Hi Jack




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             We don’t have a slip. The confirmation number we sent you is typically
             all that is provided. Nevertheless, I will try to put something together for
             you.
             Val indicated that international wires can take up to a week depending on
             the country.”

105.         On Tuesday, June 26, 2012 at 9:10 a.m., Scott emailed Fake Jack and

   stated:

             “OK
             Is this also coming out of the Chestnut account? Please make sure that the
             account name and checking account # match of the form.
             Thanks”

106.         On Tuesday, June 26, 2012 at 9:12 a.m., Scott emailed Peter McNicholas

   that the number was not working.

107.         As Peter McNicholas mistakenly gave Scott the wrong phone number,

   with the first number of the area code mistakenly typed as an “8” instead of a “9”,

   Peter corrected the number at 9:15 a.m.

108.         On Tuesday, June 26, 2012 at 9:18 a.m., Scott called Peter on his cell

   phone.

109.         On Tuesday, June 26 at 9:18 a.m., Peter McNicholas received a phone call

   from Scott’s cell phone (508-308-1209) during which Peter McNicholas recalls

   telling Scott that no one at CDA had authorized the wires and Scott responding

   that he would take care of this.

110.         On information and belief, after the phone conference with Peter

   McNicholas, the cybercriminal communicated by email with Scott about the wire

   transfer.

111.         On Tuesday, June 26, 2012 at 9:28 a.m., Scott emailed Fake Jack

   indicating that he would receive an e-mail confirmation with the wire detail.



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112.      On Tuesday, June 26 at 9:50 a.m., an email was sent from

   pmnicho4@gmail.com posing as Peter McNicholas (the “Fake Peter”) to Dr.

   Hertzberg stating

          “Also Talked to Scott Vickery. He said it was a mistake and we’ve settled
          it. He said you should ignore the message. Peter.”

113.      Peter McNicholas’s actual email account is pmnich4@gmail.com.

114.      On Tuesday, June 26, 2012 at 10:56 a.m., Fake Jack emailed the second

   Wire Transfer Agreement form and reconfirmed the account details for the

   transfer. They were as follows:

                    “Account Holder: Frank Mottulla, Weserberghausweg 3a, 31737
                    Rintein Germany. Bank: Sparkasse Schaumburg, IBAN: DE91
                    XXXXXXXXXXXX, Swift-XXXXXXXXXXX, Amount: 8,000
                    euros”

115.      On Tuesday, June 26, 2012 at 11:25 a.m., Scott emailed a reply to Fake

   Jack, stating

          “Hi Jack

          The account name and address needs to match the account number. You
          listed your personal name and address. I assume this is for Chestnut
          Dental. I am not allowed to change otherwise I’d make the change for
          you. If its for Chestnut Dental, can you change the name and address
          please?
          I know they processed the one yesterday, but they cannot process a second
          one with incorrect info. Once we have the corrected form we will send for
          processing. The wire department will then forward a confirmation email.
          Not sure if that is same day or next day. Wires after 2pm go out next day.
          I appreciate it
          Thanks”
116.      On June 26, 2012, Fake Jack replied only to Scott, attaching the fraudulent

   wire transfer form.

117.      Sovereign initiated international wire transfer to Germany of $10,492 on

   June 26, 2012.


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118.          The fraudulent June 26, 2012 wire transfer agreement was not in the name

   of the account holder.

119.          The fraudulent June 26, 2012 wire transfer agreement contained an

   incorrect account holder address.

120.          The fraudulent June 26, 2012 wire transfer agreement listed the prior

   residential address of Dr. Hertzberg, although he had not resided at the address for

   over twelve years.

121.          On Monday, July 2, 2012 at 2:09 p.m., Fake Jack emailed Scott, stating:

              “Hi Val, I contacted Scott Vickery but he seems to be out of office. I’d
              probably need you to help me wire the rest for the equipments tomorrow.
              I’ll complete the wire transfer form and send you once I conclude with the
              recipient. I hope you can help me get it done tomorrow morning. Thanks
              Jack.”

122.          On Tuesday, July 3, 2012 at 2:12 a.m. (date stamped “p.m.”, but appears

   to actually be “a.m.”), Valerie replied to Fake Jack stating:

              “Hello Jack: I can help you with the wire tomorrow.
              In the meantime, did you receive the e-mails from Scott and myself
              regarding the existing wire to Malaysia? More information is needed by
              the beneficiary bank.”

123.          On Tuesday, July 3, 2012 at 8:22 a.m., Fake Jack replied to Valerie

   stating:

              “Good morning Val, The recipient for the wire transfer in Malaysia has
              not yet received the payment. What is going on? Did you sent the
              recipient bank the additional details they requested yet? Thanks Jack

124.          On Tuesday, July 3, 2012 at 8:30 a.m. (date stamped “p.m.”, but appears

   to actually be “a.m.”), Valerie responded to Fake Jack that:

              “The recipient bank needs more detail and that detail has to come from
              you.




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              You need to send me the written wire instructions you received from the
              beneficiary. Once we look at that, you may need to contact the
              beneficiary for additional information.
              We do not contact the beneficiary for information.
              Valerie.”


125.          On Tuesday, July 3, 2012 at 8:41 a.m., Fake Jack replied to Valerie that:

              “I actually don’t understand what other information you need but I will
              contact the beneficiary and let you know before the end of the day. I will
              send you the completed wire transfer form so that you can help me
              complete the other transfer for the rest of the equipments from Hong
              Kong. Thanks Jack.”

126.          On Tuesday, July 3, 2012 at 8:42 a.m. (date stamped “p.m.”, but appears

   to actually be “a.m.”), Valerie emailed Fake Jack and said

              “Jack: I need to see the wire instructions the beneficiary gave you. He
              must have sent you something in writing…”

127.          On Tuesday, July 3, 2012 at 10:55 a.m., Fake Jack responded to Valerie,

   stating:

              “The invoice i sent you earlier is the instruction the recipient gave. Will
              that do?. Jack”

128.          On Tuesday, July 3, 2012 at 11:10 a.m. (date stamped “p.m.”, but appears

   to actually be “a.m.”), Valerie emailed Fake Jack and said

              “Please send information to me as it was given to you by beneficiary. Did
              they give you an invoice?”

129.          On Tuesday, July 3, 2012 at 11:19 a.m., Fake Jack responded and said:

              “I have forwarded you the invoice in a separate email. Did you get it?
              Jack”

130.          On Tuesday, July 3, 2012 at 11:25 a.m., Valerie responded:

              “Yes. I have sent it to our wire processing area and they will try to figure
              out what is needed. Valerie”




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131.          On Tuesday, July 3, 2012 at 11:29 a.m., Fake Jack replied to Valerie:

              “Ok, Will you still be able to help me send the wire transfer for the
              remaining equipments to the other supplier today?”

132.          On Tuesday, July 3, 2012 at 11:32 a.m., Valerie wrote:

              “Yes. Please complete the form and e-mail it to me. Please be available
              for a call-back/verification if the wire is over $10,000. Valerie”

133.          For the July 3, 2012 wire transfer request, Sovereign again did not require

   the wire transfer agreement to be faxed.

134.          On Tuesday, July 3, 2012 at 12:01 p.m., Fake Jack emailed a fraudulent

   wire transfer agreement to Valerie and provided the same fraudulent phone

   number for a call-back, stating:

              “Attached is the completed form. Call me. 817-381-5710. Thanks Jack”

135.          On Tuesday, July 3, 2012 at 12:49 p.m., Fake Jack emailed Valerie,

   stating:

              “Send me the reference details when done. Thanks Jack”

136.          On Tuesday, July 3, 2012 at 1:16 p.m. (date and time of email stamp

   appears incorrect), Valerie emailed Fake Jack confirmation of the wire and the

   reference number.

137.          On July 3, 2:01 p.m., Fake Jack emailed Valerie stating:

              “The name is Mundo Bekti Dunia Company and not Mundo Berti Dunia
              Company. Could you please correct that? It is very important. Thanks
              Jack.”

138.          On July 3, 2:24 p.m., Fake Jack emailed Valerie stating:

              “OK, Val. How long will it take both recipient(Malaysia and HK) to
              receive the payment? Thanks Jack.”




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139.       On July 3, 2012, Sovereign sent an international wire transfer to Hong

   Kong from CDA’s account in the amount of $85,060.

140.       The July 3, 2012 wire transfer agreement for the Hong Kong transfer was

   in the name of the account holder, but still had the fraudulent phone number.

141.       Sovereign did not verify the identification of the purported transferor by

   call back to the account holder’s office.

142.       Sovereign did not verify the identification of the purported transferor by

   requiring its approved account holder to show identification at Sovereign’s office.

143.       On Friday, July 6, 2012 at 8:52 a.m., Fake Jack emailed Valerie, stating:

           “Good morning Val, I received mail from the recipient Malaysia, The
           recipient account has not yet been credited. What’s happening? The
           transfer has been done since last month. Please check and let me know
           what’s going on. Thanks Jack”

144.       On Friday, July 6, 2012 at 11:24 a.m., Valerie emailed Fake Jack stating:

           “The wire room has sent an amendment (address correction) to the
           original wire. They will let me know when a reply is received.
           Our wire area, corrected the beneficiary address. What you had on your
           wire form for an address and what was on the invoice did not match. Val.”

145.       Sovereign failed to call its customer’s office upon discovering the

   discrepancy in the transfer form and purported invoice.

146.       On Monday, July 9, 2012 at 8:31 a.m., Fake Jack emailed Valerie and

   Scott, stating:

           “Good morning, I received message from both recipient. Both recipient
           haven’t received the payments yet. Whats going on? Could you send a
           tracer dso that we can know the status of both transaction? Thanks”

147.       On Monday, July 9, 2012 at 8:39 a.m. (date stamped “p.m.”, but appears

   to actually be “a.m.”),Valerie replied to Fake Jack, stating:




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          “Hello Jack: As I emailed you on Friday, the correction to the wire to
          Malaysia has been sent. We are waiting for the beneficiary bank to
          receive our correction and process the wire. Even though it was sent on
          Friday, due to the time difference, they may not have received it until
          Saturday.
          The wire we sent on Tuesday, the 3rd, can take up to 5 days to reach its
          destination. Valerie”

148.      On Monday, July 9, 2012 at 8:44 a.m., Fake Jack emailed Valerie, stating:

          “OK, I need you to help me make a local transfer of 10k to The Bancorp
          Bank this morning. How long will that take? Do i have to fill the same
          wire transfer form? Thanks Jack”

149.      On Monday, July 9, 2012 at 8:45 a.m. (date stamped “p.m.”, but appears

   to actually be “a.m.”), Valerie emailed Fake Jack, as follows:

          “Yes, same form. A call back will be needed. Valerie”

150.      On Monday, July 9, 2012 at 8:48 a.m., Fake Jack emailed Valerie, stating:

          “OK. How long does local transfers take?”

151.      On Monday, July 9, 2012 at 8:49 a.m. (date stamped “p.m.”, but appears

   to actually be “a.m.”), Valerie emailed Fake Jack and informed him that domestic

   wires were usually processed same day.


152.      On Monday, July 9, 2012 at 9:43 a.m., Fake Jack emailed Valerie yet

   another fraudulent wire transfer agreement, stating “Attached is the completed

   form and I reconfirm the details below.”

153.      On The Wire Transfer Agreements provided to Sovereign by Fake Jack

   contained a fraudulent phone number, which did not match any number that the

   Bank would have had on file for CDA or Dr. Hertzberg.

154.      On Monday, July 9, 2012 at 10:23 a.m., Valerie emailed Fake Jack

   confirmation of the transfer request made that day.



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155.      On Monday, July 9, 2012 at 10:27 a.m., Fake Jack emailed Valerie,

   requesting:

          “Ok, Provide me all my account balances, Thanks.”

156.      On Monday, July 9, 2012 at 10:32 a.m., Valerie replied, copying Scott, as

   follows:

          “Jack: Please provide the last 4 digits of the accounts you want balances
          for.”

157.      On July 9, 2012 at 10:39 a.m., Fake Jack requested that Valerie provide

   him with account balances from a money market account and two checking

   accounts.

158.      On Monday, July 9, 2012 at 10:51 a.m., Scott emailed Fake Jack, stating

   as follows:

          “Jack,
          Will you need additional wires?
          Val has been processing them for you but if you will need to send wires
          routinely we should set you up with either online wire function or have a
          pin pack sent so you can call them into our wire room directly. Thanks”

159.      On Monday, July 9, 2012 at 11:40 a.m., Valerie emailed Fake Jack,

   copying Scott, and informed him that there were six figure balances in two of the

   requested accounts and zero in the other.

160.      On July 10, 2012, Sovereign transmitted an international wire transfer to

   Malaysia in the amount of $95,310 from CDA’s account.

161.      On The Wire Transfer Agreements provided to Sovereign by Fake Jack

   contained a fraudulent phone number, which did not match any number that the

   Bank would have had on file for CDA or Dr. Hertzberg.




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162.       None of the fraudulent wire transfers were approved by a reasonable

   security procedure, such as a Bank call to Jonathan Chason, D.M.D. or Jack

   Hertzberg, D.M.D. at the CDA office phone number associated with the account.

163.       Dr. Herzberg is one of nine shareholder’s in CDA.

164.       No other shareholder was contacted by the Bank about these wire

   transfers.

165.       The Wire Transfer Agreements for each of the wire transfers sent by Fake

   Jack to Scott contained a fraudulent phone number, not associated with any CDA

   or Jack Hertzberg account.

166.       On information and belief, the Bank never called any of the phone

   numbers listed on CDA’s account to verbally confirm the wire transfer requests.

167.       On information and belief, the Bank never faxed a wire confirmation to

   CDA’s on file fax number.

168.       On or about July 11, 2012, CDA discovered the fraud upon learning of its

   cash balance, and further investigating the discrepancy from its quickbooks

   balance and discovering the multiple wires.

169.       Peter McNicholas then called Scott Vickery about the discovery.

170.       Upon learning of the theft, CDA completed a loss affidavit, contacted the

   local police department to report the theft and demanded that its account balance

   be restored by the Bank.

171.       In her August 21, 2012 letter to Jay Pabian, CDA’s corporate attorney,

   Sovereign General Counsel Denise Goudet, Esq. (“Denise”) wrote, “the bank did

   attempt a call-back to confirm these wires. Unfortunately, the telephone number




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   used for the call-back was not a valid telephone number of Chestnut Dental

   Associates, P.C.”

172.      Despite the wire transfer form indicating an incorrect contact number, the

   Bank proceeded with the wire transfer requests.

173.      The first two Wire Transfer Agreements listed Dr. Hertzberg personally as

   the customer and not CDA.

174.      The first two Wire Transfer Agreements listed a personal mailing address

   for Dr. Hertzberg that he had not resided at for over 12 years.

175.      On information and belief, during the fraud, Scott advised Fake Jack on

   correcting errors on the Wire Transfer Agreements.

176.      Ms. Valerie Tipton (“Valerie”), an employee of Sovereign Bank, also

   struggled with obtaining the proper information from Fake Jack on numerous

   occasions.

177.      In the only known phone conversation between CDA and the Bank

   concerning wire transfer requests, on June 26, 2012, Peter McNicholas, CDA’s

   Administrator, told Scott that no one at CDA had authorized the wires and Scott

   responded that he would take care of this.

178.      Nevertheless, the Bank processed two additional international wires on

   July 3, 2012 and July 10, 2012.

179.      On information and belief, the Bank did not provide any written wire

   transfer confirmations to CDA.

180.      On information and belief, all confirmations went to Fake Jack via email

   correspondence.




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181.      As of August 3, 2012, $31,310 from the first wire of June 25, 2012 has

   been returned to CDA and $10,106.09 from the second wire on June 26, 2012 has

   been returned to CDA.

182.      Sovereign indicated during the week of August 7, 2012, that it was highly

   unlikely that any additional monies could be recovered from the perpetrators.

183.      Sovereign has denied CDA’s request for a copy of the Bank’s policies and

   procedures for initiation, verification and processing of wire transfers.

184.      Sovereign has denied CDA’s request for a copy of other emails sent to the

   Bank from the cybercriminal(s) related to these fraudulent wire transfers.

185.      Sovereign knew or should have known that the authentication procedures

   used was known to be lacking in any reasonable fortification against attacks on

   customer accounts.

186.      Sovereign, despite the widespread information and knowledge on phishing

   attacks and the need to adopt, educate and utilize sufficient and accepted security

   procedures, ignored significant warning available in the literature and chose to

   institute token authentication procedures as its security to protect against

   unauthorized transfers from customer’s accounts.

187.      CDA instructed Sovereign’s representative that CDA had not made any

   wire transfers and Sovereign was not to honor any requested wire transfers on

   June 26, 2012.

188.      Despite CDA’s instruction to Sovereign’s representative that CDA had not

   made any wire transfers and Sovereign was not to honor any requested wire

   transfers on June 26, 2012, Sovereign approved wire transfers of funds.




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189.      The Federal Financial Institutions Examination Council (“FFIEC”) is a

   formal interagency body empowered to prescribe uniform principles, standards,

   and report forms for the federal examination of financial institutions by the Board

   of Governors of the Federal Reserve System (FRB), the Federal Deposit

   Insurance Corporation (FDIC), the National Credit Union Administration

   (NCUA), the Office of the Comptroller of the Currency (OCC), and the Consumer

   Financial Protection Bureau (CFPB), and to make recommendations to promote

   uniformity in the supervision of financial institutions.

190.      On June 28, 2011, the FFIEC issued a supplement to the Authentication in

   an Internet Banking Environment guidance, issued in October 2005. The purpose

   of the supplement was to reinforce the risk-management framework described in

   the original guidance and update the FFIEC member agencies' supervisory

   expectations regarding customer authentication, layered security, and other

   controls in the increasingly hostile online environment.

191.      The FFIEC supplemental guidance provided that “the continued growth of

   electronic banking and greater sophistication of the associated threats have

   increased risks for financial institutions and their customers. Customers and

   financial institutions have experienced substantial losses from online account

   takeovers. Effective security is essential for financial institutions to safeguard

   customer information, reduce fraud stemming from the theft of sensitive customer

   information, and promote the legal enforceability of financial institutions'

   electronic agreements and transactions.”




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192.       The supplement stressed the need for performing risk assessments,

   implementing effective strategies for mitigating identified risks, and raising

   customer awareness of potential risks, but did not endorse any specific technology

   for doing so.

193.       The FFIEC directed examiners to formally assess financial institutions

   under the enhanced expectations outlined in the supplement beginning in January

   2012.

194.       The FFIEC guidance of June 2011, defined “Layered Security Programs”

   as “characterized by the use of different controls at different points in a

   transaction process so that a weakness in one control is generally compensated for

   by the strength of a different control…”

195.       The FFIEC guidance provided, in part, that “layered security can

   substantially strengthen the overall security of Internet-based services and be

   effective in protecting sensitive customer information, preventing identity theft,

   and reducing account takeovers and the resulting financial losses…”

196.       Regulations and guidelines, specifically addressing financial institutions’

   responsibilities to protect customer information and prevent identity theft, are

   contained in the Interagency Final Regulation and Guidelines on Identity Theft

   Red Flags, 12 CFR parts 41, 222, 334, 571, and 717 and in the Interagency

   Guidelines Establishing Information Security Standards, 12 CFR parts 30, 208,

   225, 364, and 570, Appendix B.

197.       The FFIEC guidance provided, in part, that “financial institutions should

   implement a layered approach to security for high-risk Internet-based systems.”




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198.      The FFIEC guidance provided, in part, that “effective controls that may be

   included in a layered security program include, but are not limited to:

       a. fraud detection and monitoring systems that include consideration of

          customer history and behavior and enable a timely and effective institution

          response;

       b. the use of dual customer authorization through different access devices;

       c. the use of out-of-band verification for transactions;

       d. the use of “positive pay,” debit blocks, and other techniques to

          appropriately limit the transactional use of the account;

       e. enhanced controls over account activities; such as transaction value

          thresholds, payment recipients, number of transactions allowed per day,

          and allowable payment windows (e.g., days and times);

       f. internet protocol (IP) reputation-based tools to block connection to

          banking servers from IP addresses known or suspected to be associated

          with fraudulent activities;

       g. policies and practices for addressing customer devices identified as

          potentially compromised and customers who may be facilitating fraud;

       h. enhanced control over changes to account maintenance activities

          performed by customers either online or through customer service

          channels; and

       i. enhanced customer education to increase awareness of the fraud risk and

          effective techniques customers can use to mitigate the risk.”




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199.       The FFIEC guidance provided, in part, that “…an institution’s layered

   security program will contain the following two elements, at a minimum.

       a. Detect and Respond to Suspicious Activity

       b. Layered security controls should include processes designed to detect

           anomalies and effectively respond to suspicious or anomalous activity

           related to:

               i. initial login and authentication of customers requesting access to

                   the institution’s electronic banking system; and

               ii. initiation of electronic transactions involving the transfer of funds

                   to other parties.”

200.       The FFIEC guidance concluded, in part, that “[b]ased upon the incidents

   the Agencies have reviewed, manual or automated transaction monitoring or

   anomaly detection and response could have prevented many of the frauds since

   the ACH/wire transfers being originated by the fraudsters were anomalous when

   compared with the customer’s established patterns of behavior.”

201.       The FFIEC guidance additionally provided that, “for business accounts,

   layered security should include enhanced controls for system administrators who are

   granted privileges to set up or change system configurations, such as setting access

   privileges and application configurations and/or limitations. These enhanced controls

   should exceed the controls applicable to routine business customer users. For

   example, a preventive control could include requiring an additional authentication

   routine or a transaction verification routine prior to final implementation of the access

   or application changes. An example of a detective control could include a transaction

   verification notice immediately following implementation of the submitted access or


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   application changes. As discussed in the Appendix, out-of-band authentication,

   verification, or alerting can be effective controls. Based upon the incidents the

   Agencies have reviewed, enhanced controls over administrative access and functions

   can effectively reduce money transfer fraud.”

202.       The FFIEC guidance provided, in part, that “[t]ransaction

   monitoring/anomaly detection software…in use for a number of years…[by]… the

   credit card industry detects and blocks fraudulent credit card transactions, systems are

   now available to monitor online banking activity for suspicious funds transfers. They

   can stop a suspicious ACH/wire transfer before completion and alert the institution

   and/or the customer so that the transfer can be further authenticated or dropped.

   Based upon the incidents the Agencies have reviewed, manual or automated

   transaction monitoring/anomaly detection could have assisted in preventing many

   fraudulent money transfers as they were clearly out of the ordinary when compared

   with the customer’s established patterns of behavior.”

203.       For anomalous transactions, the FFIEC recommend requiring “out-of-

   band” authentication or verification, which means that a transaction that is

   initiated via one delivery channel (e.g., Internet) must be re-authenticated or

   verified via an independent delivery channel (e.g., telephone) in order for the

   transaction to be completed. However, out-of-band authentication directed to or

   input through the same device that initiates the transaction may not be effective

   since that device may have been compromised.

204.       The FFIEC has stated, “[f]or business customers, the out-of-band

   authentication or verification should be provided by someone other than the

   person who first initiated the transaction and can be combined with other



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   administrative controls…and…can be an effective control to reduce fraudulent

   funds transfers.”

205.          The FFIEC, in its June 2011 guidance, concluded, in part, that “the

   Agencies agree with security experts who believe that institutions should no

   longer rely on one form of customer authentication. A one dimensional customer

   authentication program is simply not robust enough to provide the level of

   security that customers expect and that protects institutions from financial and

   reputation risk.”

206.          Sovereign Bank’s web site for business accounts indicates a requirement

   of a Personal Identification Number for wire transfers initiated over the phone, in

   stating:

              “Wire Transfer

              Sovereign's Wire Transfer service is the most expedient method for

              transferring funds between your Sovereign business account and other

              bank accounts.

              It can be used for domestic or international transactions in which no cash

              or check exchange is involved, but the account balance is directly debited

              electronically and the funds are transferred to another account in real time.

              Sovereign offers multiple delivery channels to quickly, reliably, and

              securely initiate an immediate domestic or international transfer through

              our Wire Room, using your assigned Personal Identification Number, over

              the telephone or through Business Online Banking with BillPay.”




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207.      Sovereign Bank failed to offer its customer participation in its “Automated

   alerts” program, which would have included “Wire Alerts—notify you whenever

   a wire transfer is sent or received.” Summary information would have been sent

   via email to the customer.

208.      Sovereign Bank represented to its customer that it “will never send an

   unsecured email requesting your User ID, Password, debit card number or any

   other sensitive information.”

209.      Despite the Bank’s understanding that it should not be requesting

   “sensitive information” from its customer in an “unsecured email”, the Bank,

   through its agent, forwarded all of the customer account information, including

   account numbers and balances, to the cybercriminal in an unsecure email.

210.      The Bank’s representations and advice to its customers concerning

   security warned, “Same old con man, new ride—Con men and women have

   been around since the beginning of human history, and the computer and Internet

   just represent new tools for their scams. In this category fall the infamous

   Nigerian scammers, crooks who trick you into unauthorized bank transfers and

   perform other forms of fraud. The difference between this and other types of

   cybercrime is that the crooks form a sort of relationship with the victim, fooling

   them into parting with their money.” In this case, the Bank foolishly parted with

   its customer’s money.

211.      On August 21, 2012, in its response to CDA’s counsel’s demand to restore

   its account balance, Denise A. Gaudet, Deputy General Counsel for Sovereign

   Bank acknowledged that, “…I can tell you, however, that the bank did attempt a




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   call-back to confirm these wires. Unfortunately, the telephone number used for

   the call-back was not a valid telephone number for Chestnut Dental Associates,

   P.C. (“CDA”).

                                    COUNT I

  (LIABILITY PURSUANT TO M.G.L. c. 106, UCC § 4A-201, ET. SEQ.)



212.      Plaintiff incorporates the allegations contained in paragraphs 1-211 as set

   forth in this Complaint above as if fully set forth herein.

213.      As described in this Complaint, on June 25 and 26 and July 3 and 10,

   Sovereign Bank received fraudulent wire transfer instructions from the

   perpetrators.

214.      These wire transfer instructions were not authorized by CDA, nor was

   CDA bound by these wire transfer instruction pursuant to the law of agency.

215.      These wire transfer instructions were not effective as the orders of CDA

   pursuant to § 4A-202 of the Uniform Commercial Code (“UCC”), codified at

   M.G.L.A. 106 § 4A-202

216.      CDA and Sovereign did not enter into an agreement that allowed for

   variation from the established security procedure, which was verification of the

   wire transfer authorization by a call from Sovereign to CDA’s office and

   confirmation by Jonathan Chason, D.M.D. or Jack Hertzberg, D.M.D.

217.      To the extent that CDA and Sovereign did enter into an agreement that

   allowed for variation from the established security procedure, which was

   verification of the wire transfer authorization by a call from Sovereign to CDA’s




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   office and confirmation by Jonathan Chason, D.M.D. or Jack Hertzberg, D.M.D.,

   the steps taken by Sovereign to verify the authenticity of the fraudulent wire

   transfer authorizations issued on June 25, 26 and July 3 and 10 were outside the

   scope of and were not part of any such agreed-upon security procedure.

218.      To the extent that CDA and Sovereign did enter into an agreement that

   allowed for variation from the established security procedure, which was

   verification of the wire transfer authorization by a call from Sovereign to CDA’s

   office and confirmation by Jonathan Chason, D.M.D. or Jack Hertzberg, D.M.D.,

   such security procedure was not a commercially reasonable method of providing

   security against fraudulent wire transfer authorizations for at least the following

   reasons:

       a. Sovereign did not detect and prevent the fraudulent wire transfers even

          though the perpetrator:

               i. Submitted the fraudulent transfer requests at a time when the

                  account holder had never wired funds, and in fact the account

                  holder had only completed a single annual wire transfer for its

                  December Bonus Payroll;

              ii. were the first international wire transfers for the account holder;

              iii. were the only wire transfers not paid to their payroll company’s

                  account;

              iv. listed as customer name an individual stockholder, not the name of

                  the corporation, which was the account holder;

              v. failed to list the customer’s address;




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               vi. listed a prior address of Dr. Hertzberg, which he had not lived in

                   for twelve years;

              vii. listed a loan account number and not a deposit account;

              viii. provided the return call phone number which was not the account

                   holder’s number;

               ix. NEVER appeared at the bank for authorization;

                x. Requested account information, including account numbers and

                   balances, which the bank provided to the perpetrator in unsecured

                   emails in multiple exchanges;

               xi. deviated from the account holder’s historic one time per year use

                   to their payroll account;

              xii. deviated from the account holder’s loan application;

              xiii. provided invoice numbers which failed to match the fraudulent

                   wire transfer authorization;

219.      To the extent that CDA and Sovereign did enter into an agreement that

   allowed for variation from the established security procedure, which was

   verification of the wire transfer authorization by a call from Sovereign to CDA’s

   office and confirmation by Jonathan Chason, D.M.D. or Jack Hertzberg, D.M.D.,

   such security procedure was not a commercially reasonable method of providing

   security against fraudulent wire transfer authorizations for at least the following

   reasons:

       a. Sovereign failed to:

                i. Utilize reasonable security testing procedure;




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              ii. Apply reasonable security testing procedures to each wire transfer

                  transaction individually;

             iii. Offer to send emails to CDA alerting it to unusual transactions;

             iv. Reasonably verify the account holder’s identity and authority;

              v. as CDA had only sent one wire annually in the past ten plus years

                  prior to June 25, 2012 and thus transaction verification with

                  respect to CDA would not have been a burden to Sovereign or

                  CDA;

             vi. detect the fraud despite the fraudulent wire transfers of funds being

                  sent to numerous individual accounts to which CDA had never

                  before transferred funds;

             vii. properly train and prevent its employee from sending account

                  holder information via an unsecure email, which included account

                  numbers and balances.

            viii. have fraud monitoring programs in place or preventative security

                  features to perform fraud scoring or fraud screening measurements

                  on transactions to detect unusual activity.

220.      To the extent that CDA and Sovereign did enter into an agreement that the

   authenticity of wire transfer authorizations would be verified pursuant to a

   security procedure, Sovereign did not approve the wire transfer authorizations in

   good faith and in compliance with that security procedure.

221.      Sovereign breached this duty by failing to employ proper security

   procedures to prevent the fraudulent transfer of CDA’s funds as described above.




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222.      Sovereign’s breach of duty has caused significant economic harm to CDA

   as described above.

223.      Sovereign’s breach of duty was undertaken with malice, or is so

   outrageous that malice can be implied from its actions.

          WHEREFORE, Plaintiff CDA respectfully requests that the Court enter
          Judgment against Defendant Sovereign Bank for damages in an amount to
          be determined at trial, together with interest, costs, attorney’s fees and
          such other further relief as the Court deems just and appropriate.


                                    COUNT II

                                (NEGLIGENCE)

224.      Plaintiff incorporates the allegations contained in paragraphs 1-223 as set

   forth in this Complaint above as if fully set forth herein.

225.      Sovereign had a duty to employ proper security procedures to ensure that

   parties other than CDA would not be able to effect transfers of funds from CDA’s

   accounts by fraudulent means.

226.      Sovereign breached this duty by failing to employ proper security

   procedures to prevent the fraudulent transfer of CDA’s funds as described above.

227.      Sovereign’s breach of duty has caused significant economic harm to CDA

   as described above.

228.      Sovereign’s breach of duty was undertaken with malice, or is so

   outrageous that malice can be implied from its actions.


   WHEREFORE, Plaintiff CDA respectfully requests that the Court enter Judgment
   against Defendant Sovereign Bank for damages in an amount to be determined at
   trial, together with interest, costs, attorney’s fees and such other further relief as
   the Court deems just and appropriate.




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                                   COUNT III

                         (BREACH OF CONTRACT)

229.       Plaintiff incorporates the allegations contained in paragraphs 1-228 as set

   forth in this Complaint above as if fully set forth herein.

230.       By accepting CDA’s deposits and the fees paid by CDA for banking

   services, Sovereign entered into an implied contract with CDA whereby

   Sovereign agreed that it would safeguard CDA’s deposits against fraudulent

   transfers.

231.       By failing to employ proper security procedures to prevent fraudulent

   transfer of CDA’s funds as described above, Sovereign breached the

   aforementioned implied contract.

232.       As a direct and proximate result of the breach of contract by Sovereign,

   CDA has suffered and will continue to suffer significant financial damages.



           WHEREFORE, Plaintiff CDA respectfully requests that the Court enter
           Judgment against Defendant Sovereign Bank for damages in an amount to
           be determined at trial, together with interest, costs, attorney’s fees and
           such other further relief as the Court deems just and appropriate.


                                   COUNT IV

                     (BREACH OF FIDUCIARY DUTY)

233.       Plaintiff incorporates the allegations contained in paragraphs 1-232 as set

   forth in this Complaint above as if fully set forth herein.

234.       As CDA’s bank, Sovereign owed fiduciary duties to CDA that included

   without limitation, the duties to safeguard CDA’s funds and employ proper




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   security procedures to ensure that parties other than CDA would not be able to

   effect transfer of funds from CDA’s accounts by fraudulent means.

235.       By failing to safeguard CDA’s funds and employ proper security

   procedures to prevent the fraudulent transfer of CDA’s funds as described above,

   Sovereign breached its fiduciary duties to CDA.

236.       Sovereign’s breach of fiduciary duty has caused significant economic

   harm to CDA as described above.

237.       Sovereign’s breach of fiduciary duties was undertaken with malice, or is

   so outrageous that malice can be implied from its actions.


   WHEREFORE, Plaintiff CDA respectfully requests that the Court enter Judgment
   against Defendant Sovereign Bank for damages in an amount to be determined at
   trial, together with interest, costs, attorney’s fees and such other further relief as
   the Court deems just and appropriate.


                                    COUNT V

  (BREACH OF COVENANT OF GOOD FAITH AND FAIR DEALING)

238.       Plaintiff incorporates the allegations contained in paragraphs 1-237 as set

   forth in this Complaint above as if fully set forth herein.

239.       Implied in the relationships between the Plaintiff and the Defendant is the

   obligation on the part of the Defendant to act in good faith and deal fairly with the

   Plaintiffs.

240.       Defendant’s conduct in failing to comply with accepted security practices,

   protecting the Plaintiff’s property and refusing to restore the Plaintiff’s account

   balances and making it whole constituted a breach of the implied covenant of

   good faith and fair dealing.



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   241.        As a direct and proximate result of Defendant’s breach of the implied

       covenant of good faith and fair dealing, Plaintiff suffered actual damages in an

       amount to be determined by the Court.

        WHEREFORE, Plaintiff CDA requests that this Court enter judgment in favor of
the Plaintiff and award damages in an amount that is just and proper, with costs and
reasonable attorneys’ fees, and such other and further relief as the Court deems just and
proper.


                                       COUNT VI

                      (Massachusetts General Law C. 93A, § 11)

   242.        Plaintiff incorporates the allegations contained in paragraphs 1-241 as set

       forth in this Complaint above as if fully set forth herein.

   243.        Plaintiff and Defendant are each persons engaged in the conduct of trade

       and commerce within the meaning of G.L. c. 93A.

   244.        Defendant’s acts and conduct, as described in the preceding paragraphs,

       constitute unfair and deceptive acts and practices in the conduct of trade or

       commerce in violation of G.L. c. 93A, §§ 2 and 11. The Defendant’s wrongful

       acts occurred primarily and substantially within the Commonwealth and were

       conducted intentionally, knowingly and willfully.

   245.        As a consequence of the Defendant’s wrongful acts and conduct, Plaintiff

       has suffered the loss of both money and property, and the Defendant has been

       unjustly enriched.

        WHEREFORE, Plaintiff requests that this Court enter judgment in favor of
Plaintiff and award double or treble the amount of actual damages, in an amount that is
just and proper, with costs and reasonable attorneys’ fees pursuant to G.L. c. 93A, § 11,
and such other and further relief as the Court deems just and proper.




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                   PLAINTIFFS DEMAND TRIAL BY JURY
                   ON ALL OF THE FOREGOING COUNTS


                          RESPECTFULLY SUBMITTED,
                          CHESTNUT DENTAL ASSOCIATES, P.C.
                          By its attorneys,
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                          By:


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Dated: October 30, 2012




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